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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                         *
                                                  *
        v.                                        *    CRIMINAL NO. MJG-17-0069
                                                  *
 HAROLD T. MARTIN, III                            *
                                                  *
        Defendant.                                *
                                                  *
                                               *******

  GOVERNMENT’S BRIEF IN RESPONSE TO ORDER DATED FEBRUARY 16, 2018

   I.        INTRODUCTION

        The Defendant, Harold T. Martin, III, is charged with twenty counts of violating Title 18,

United States Code, Section 793(e). On February 1, 2018, the Government appeared ex parte

before this Court for a hearing on the Government’s motion pursuant to Section 4 of the

Classified Information Procedures Act, 18 U.S.C. App. III (CIPA). By Order dated February 16,

2018, the Court directed the parties to file briefs regarding the elements of Title 18, United States

Code, Section 793(e), particularly as to mens rea. See Doc. 84. Accordingly, this Brief sets

forth the elements of the offense.

        To convict the Defendant, the Government must prove that the Defendant, having

unauthorized possession of documents that related to national defense, willfully retained those

documents—in other words, that he retained the documents knowing that his conduct was

unlawful. The Court has asked whether the Government must prove that the Defendant knew

that he possessed the specific documents listed in the Indictment, and whether he was aware that

the contents of those specific documents constituted national defense information. The

Government is not required to prove either. The Government must prove that the Defendant

knew in general that his conduct violated the law. Requiring proof that the Defendant knew
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precisely what documents he possessed, or that he knew the precise reason that his retention of

those documents was unlawful, would be inconsistent with the statute and case law. Moreover,

such a requirement would cause the absurd result that a defendant could avoid culpability merely

by committing a crime of such magnitude that he could claim ignorance of the details.

         In this case, the Defendant appears to believe that, because he stole and retained such a

vast quantity of classified information from secure facilities of the U.S. Intelligence Community,

he could not know exactly what he stole, and therefore cannot be convicted of retaining any

particular stolen classified documents. For the reasons set forth below, the Court should reject

this argument and base its discovery determinations on the elements of the charged crime.

   II.         DISCUSSION

         Section 793(e) provides:

         Whoever having unauthorized possession of, access to, or control over any
         document, writing, code book, signal book, sketch, photograph, photographic
         negative, blueprint, plan, map, model, instrument, appliance, or note relating to
         the national defense, or information relating to the national defense which
         information the possessor has reason to believe could be used to the injury of the
         United States or to the advantage of any foreign nation, willfully communicates,
         delivers, transmits or causes to be communicated, delivered, or transmitted, or
         attempts to communicate, deliver, transmit or cause to be communicated,
         delivered, or transmitted the same to any person not entitled to receive it, or
         willfully retains the same and fails to deliver it to the officer or employee of the
         United States entitled to receive it

         ...

         [s]hall be fined under this title or imprisoned not more than ten years, or both.

18 U.S.C. § 793(e).

         “The meaning of [the] essential terms [of Section 793(e)] . . . have been well-settled

within the Fourth Circuit since the United States Court of Appeals for the Fourth Circuit issued

its opinion in United States v. Morison, 844 F.2d 1057 (4th Cir.1988).” United States v. Drake,


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818 F. Supp. 2d 909, 916 (D. Md. 2011). To convict a defendant of violating Section 793(e) for

retaining a document (rather than intangible “information”) containing information relating to

national defense (hereinafter, “national defense information” or NDI), the Government is

required to prove beyond a reasonable doubt that: (1) the defendant had unauthorized possession

of a document; (2) the document related to the national defense; and (3) the defendant willfully

retained the document and failed to deliver it to the officer or employee of the United States

entitled to receive it. 18 U.S.C. § 793(e); United States v. Ford, No. 05-cr-0235 (D. Md.), Doc.

38 (Jury Instruction No. 41) (Jury Instructions attached);1 see United States v. Hitselberger, 991

F.Supp.2d 101, 104-06 (D.D.C. 2013); Drake, 818 F. Supp. 2d at 916-18; see also Sand, Sieffert,

et al., Modern Fed. Jury Instructions – Criminal, Instruction No. 29-21.2




1
  Ford was charged with, inter alia, unauthorized retention of national defense information under
18 U.S.C. § 793(e). In Jury Instruction No. 41, the Hon. Peter J. Messitte instructed the jury on
the elements of the offense:

       In order to prove the defendant under consideration guilty of Count One in the
       Superseding Indictment, the government must prove:

       First, that on or about the date set forth in the Superseding Indictment, the
       defendant had unauthorized possession or control over documents relating to the
       national defense of the United States;

       Second, that the defendant willfully retained the same documents and failed to
       deliver the documents to an officer and employee of the United States who is
       entitled to receive them.
2
  The model instruction includes an additional element that only applies in cases involving
intangible evidence, as opposed to cases, such as this one, involving documents. Specifically,
the third element listed in the model instruction, “that the defendant had reason to believe that
the document could be used to the injury of the United States or to the advantage [of a foreign
country],” does not apply in a case involving documents. United States v. Morison, 622 F. Supp.
1009, 1011 (D. Md. 1985); see United States v. Kiriakou, 898 F. Supp.2d 921, 923 (E.D. Va.
2012) (analyzing Section 793(d)); Drake, 818 F. Supp. 2d at 916-18.
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       This Brief addresses each element and responds to the Court’s specific questions

regarding mens rea:

       Of course, the Government must prove that Martin possessed Document A
       without authority. However, what must it prove regarding Martin’s knowledge of
       his possession? Must it prove that Martin knew that he possessed Document A?
       What must the Government prove regarding Martin’s specific knowledge of his
       possession of Document A? Assuming the Government will prove that Document
       A was included within a pile of documents and that Martin knew he possessed the
       pile, must he have known that the pile includes that specific document? And,
       what must the Government prove that Martin knew about the contents of
       Document A, i.e., whether it contained national defense information?

Doc. 84 at 1-2.

       As discussed in greater detail below, to satisfy the “willfulness” element of Section

793(e), the Government must prove that the Defendant knew in general that his conduct was

unlawful, and that his conduct was not due to mistake or accident. The Government must also

prove that the documents contained NDI, but is not required to prove that the Defendant

specifically knew that the documents contained NDI.

        Individuals, such as the Defendant, who work with classified information are trained to

recognize such information and are trained that they may not remove it from its authorized

location. Classified documents are surrounded by physical and procedural protections to ensure

that they remain in authorized locations. As argued further below, in this context, if an

individual with the Defendant’s training observed in an appropriate authorized storage location a

binder or box labeled “TOP SECRET,” and took the binder or box home, such an individual

would know that his or her retention of the documents within the binder or box was prohibited—

and therefore would act willfully in retaining them—even if the individual did not examine the

contents of the binder or box.




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               A. Unauthorized Possession

       First, the Government must prove that a defendant had unauthorized possession of, access

to, or control over each document. As Judge Messitte instructed the jury in Ford:

       “Possession” is a commonly used and commonly understood word. Basically, it
       means the act of having or holding property—in this case, documents—or the
       detention of property in one’s power or command. Possession may mean actual
       physical possession or constructive possession. A person has constructive
       possession of documents if he know where [they are] and can get at [them] at any
       time he wants, or otherwise can exercise control over [them]. Possession cannot
       be found solely on the grounds that the defendant was near or close to the
       documents. Nor can it be found simply because the defendant was present at a
       scene where the documents were discovered, or solely because the defendant
       associated with a person who did control the documents when they were
       discovered. However, these factors may be considered by you, in connection with
       all other evidence, in making [your] decision whether the defendant has
       unauthorized possession of the documents.

Ford, No. 05-cr-235 at Doc. 38 (Jury Instruction No. 42); see Sand, Sieffert, et al., Modern Fed.

Jury Instructions – Criminal, Instruction No. 29-22.3

       A defendant is “unauthorized” to have possession of, access to, or control over classified

information if he or she: (1) does not hold a security clearance; (2) holds a security clearance

without the need to know; or (3) holds a security clearance, has a need to know, but removed the

classified information from the official premises without authorization. See Ford, No. 05-cr-235

at Doc. 38 (Jury Instruction No. 42); see also United States v. Truong Dinh Hung, 629 F.2d 908,

919 n.10 (4th Cir. 1980) (“The trial judge provided adequate content for this phrase by advising

the jury that a person would have authorized possession if he had an appropriate security




3
 In this case, evidence of the Defendant’s possession of the charged documents may include, for
example, the facts that the documents were in his residence among his other papers and effects,
he was one of two occupants of the residence, he was the only occupant with access to the
documents, and he admitted having classified information in his home.
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clearance and if he gained access to the document because it was necessary to the performance of

his official duties.”).

                B. Relating to the National Defense

        Second, the government must prove that each document contained “information relating

to the national defense.” The term “national defense” has been broadly construed. See Gorin v.

United States, 312 U.S. 19, 28 (1941) (holding that the phrase “information relating to the

national defense” as used in the Espionage Act is a “generic concept of broad connotations,

referring to the military and naval establishments and the related activities of national

preparedness”). The Gorin Court referred approvingly to the district court’s jury instructions,

which stated that the term “‘national defense’ includes all matters directly and reasonably

connected with the defense of our nation against its enemies.” Drake, 818 F. Supp. 2d at 918-19

(citing Gorin, 312 U.S. at 30); see also Sand, Sieffert, et al., Modern Fed. Jury Instructions –

Criminal, Instruction No. 29-23.

        Courts have commonly held that, to constitute NDI, the information at issue must be

“closely held.” See United States v. Squillacote, 221 F.3d 542, 576-77 (4th Cir. 2000) (stating

that, if the information is obtained “‘from sources that were lawfully available to anyone who

was willing to take the pains to find, sift and collate it,’” then it is not closely held (quoting

United States v. Heine, 151 F.2d 813, 815 (2d Cir. 1945))). “[T]he central issue is the secrecy of

the information, which is determined by the government’s actions.” Id. at 577; see Sand,

Sieffert, et al., Modern Fed. Jury Instructions – Criminal, Instruction No. 29-23. The Fourth

Circuit has also held that for information to be NDI, disclosure of that information must be

“potentially damaging to the United States or [potentially] useful to an enemy of the United

States.” Morison, 844 F.2d at 1071-72.



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       Whether information constitutes NDI is a question for the jury, and the fact that

information is classified is not determinative of whether information constitutes NDI. It is well-

established, however, that classification is highly probative of whether information constitutes

NDI. See Truong, 629 F.2d at 918; United States v. Rosen, 240 F.R.D. 204, 206 (E.D. Va. 2007)

(“‘Information relating to national defense’ is sometimes referred to herein as ‘NDI.’ This type

of information includes most classified information.”); United States v. Rosen, 445 F. Supp. 2d

602, 623 (E.D. Va. 2006). As discussed below, the fact that information is classified is relevant

not only to its relationship to the national defense and its status as “closely held,” but also to a

defendant’s willfulness—his knowledge that his retention is unlawful—when that defendant has

been trained to recognize and properly handle classified information. See Hitselberger, 991 F.

Supp. 2d at 106; Kiriakou, 898 F. Supp. 2d at 925.

               C. Willful Retention

       Third, the Government must prove that the Defendant willfully retained NDI and failed to

deliver it to the officer or employee of the United States entitled to receive it. In Section 793(e)

cases, courts apply the “simple” willfulness standard defined in Bryan v. United States, 524 U.S.

184 (1998). Drake, 818 F. Supp. 2d at 916, 918; see also Hitselberger, 991. F. Supp. 2d at 107;

United States v. Kim, 808 F. Supp. 2d 44, 53 (D.D.C. 2011). When such cases involve

documents (rather than intangible information), no additional mens rea requirements apply. See

Hitselberger, 991. F. Supp. 2d at 107; Drake, 818 F. Supp. 2d at 916, 918.

       Under the Bryan standard, “a ‘willful’ act is one undertaken with a ‘bad purpose.’”

Bryan, 524 U.S. at 191. A defendant acts willfully if he “acted with knowledge that his conduct

was unlawful.” Id. at 191-92; see United States v. Danielczyk, 917 F. Supp.2d 573, 578 (E.D.

Va. 2013) (distinguishing “Bryan” willfulness from the higher willfulness standard applied in tax



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cases); see also United States v. Perry, 2014 WL 7240236 (E.D. Va.) (describing Bryan

willfulness as a “slightly more relaxed definition” than that applied in Ratzlaf v. United States,

510 U.S. 135 (1994)). Thus, as described in the Ford jury instructions:

       “Willfully” means to act with knowledge that one’s conduct is unlawful and with
       the intent to do something the law forbids, that is to say with the bad purpose to
       disobey or to disregard the law.

       [A] defendant’s conduct was not “willful” if it was due to negligence,
       inadvertence, or mistake.

Ford, No. 05-cr-0235, Doc. 38 (Jury Instruction No. 17). Similarly, the Fourth Circuit in

Morison approved the following jury instruction defining willfulness:

       An act is done willfully if it is done voluntarily and intentionally and with the
       specific intent to do something that the law forbids. That is to say, with a bad
       purpose either to disobey or to disregard the law. . . .

Morison, 844 F.2d at 1071. Of particular note, to prove that a defendant acted willfully

under Bryan, the Government must prove that he knew his conduct “was illegal as a

general matter,” and is not required to show “that he knew why.” United States v. Bishop,

740 F.3d 927, 932 (4th Cir. 2014) (emphasis in original); see Bryan, 524 U.S. at 196

(holding that “knowledge that the conduct is unlawful is all that is required”).

       Critically, then, a “showing of willfulness only requires that [a defendant] knew he was

doing something that was prohibited by law.” Morison, 622 F. Supp. at 1010. A defendant

therefore acts willfully when he retains documents containing NDI that he knows it is unlawful

for him to retain. The Government is not required to prove that a defendant knew all of the

details of why his conduct was unlawful. Bishop, 740 F.3d at 932. Accordingly, in this case, the

Government must prove that the Defendant knew generally that his conduct—bringing home

documents clearly marked as being classified—was unlawful. The Defendant’s own knowledge




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or belief that the documents contained NDI—as opposed to his awareness that it was unlawful to

retain them—is immaterial:

       National defense is not a subjective test; it does not matter whether the defendant
       himself believed that the photographs and/or documents did indeed relate to the
       national defense. It is purely an objective test, and one for the jury to decide after
       considering all of the evidence. . . . It is irrelevant whether the defendant
       personally believed that the items related to the national defense.

Morison, 622 F. Supp. at 1010; see Drake, 818 F. Supp. 2d at 916.

       Of course, in this case, as in Morison, 844 F.2d at 1073-74, Kiriakou, 898 F. Supp. 2d at

925, and similar cases, the Defendant was well aware that classified documents are controlled for

national security reasons, and that removing and retaining them is unlawful. In this regard,

relevant evidence of a defendant’s willful violation of the law can include the defendant’s

training and his acts of deception to evade detection. See Bishop, 740 F.3d at 936. The

Government has ample evidence of the Defendant’s lengthy history of assignments within the

U.S. Intelligence Community, his receipt of multiple security clearances, his training in the

identification and handling of classified information, and the security environment in which he

worked. For example, the Defendant was specifically instructed that a TOP SECRET

classification indicates that a document is so sensitive that its unauthorized disclosure

“reasonably could be expected to cause exceptionally grave damage to the national security.”

Exec. Order 13526 § 1.2(a)(1). He worked in secure U.S. Intelligence Community facilities that

were guarded, that required security clearances for access, and in which protection of classified

information was a pervasive and paramount concern. Moreover, investigators even seized

relevant security training materials from the Defendant’s residence.

       Also similar to the Defendant in Bishop, the Defendant also attempted to minimize his

conduct and deceive investigators. Ultimately, however, the Defendant admitted the mens rea



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element when he acknowledged that he retained classified information at his residence despite

knowing it was unlawful to do so.

            There can be no question that the Defendant in this case knew that he was prohibited by

law from removing documents marked TOP SECRET from their secure, authorized location, and

was prohibited from retaining them at his home and in his vehicle. When he nevertheless

removed and retained such documents, he did so willfully, regardless of whether he knew which

classified documents he took. In that regard, the Defendant in this case is similar to the

hypothetical defendant described above, who removes from an authorized storage location a

binder or box bearing markings that the contents are classified TOP SECRET. A defendant with

this Defendant’s background and training would know that he was not authorized to remove the

binder or box from its proper storage location, and that he was not authorized to retain the

contents at his residence. Such a defendant would not need to view the specific contents to know

this.

     III.      SUMMARY CONCERNING MENS REA

            Accordingly, in response to the Court’s questions regarding mens rea:

1:          [W]hat must [the Government] prove regarding Martin’s knowledge of his possession?
            Must it prove that Martin knew that he possessed Document A? What must the
            Government prove regarding Martin’s specific knowledge of his possession of Document
            A?

            Section 793(e) requires the Government to prove that the Defendant retained documents

that he knew he was prohibited by law from retaining, and that the documents contained NDI.

The Government must prove that the Defendant was generally aware that his conduct violated

the law, and that his conduct was not due to mistake or error. There is no additional requirement

for the Government to prove that the Defendant knew which specific documents he possessed or

why his retention of those documents was unlawful.

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       Proof of the Defendant’s willfulness may consist of, for example: circumstantial

evidence such as the Defendant’s training, the security environment in which the charged

documents would ordinarily be maintained, and the markings on those documents; the facts that

the charged documents (along with a vast quantity other classified documents) were present in

the Defendant’s residence, the Defendant and his wife were the only occupants of the residence,

and the Defendant’s wife could not have removed the documents from their authorized storage

location; and the Defendant’s admissions to investigators that he retained classified information

in his residence despite knowing that he was not permitted to do so. The steps necessary for the

charged documents to be transported from their proper location to the Defendant’s residence, and

the measures in place to prevent that from occurring, are strong evidence that the Defendant

could not steal and retain such a volume of documents unknowingly. His admission, of course,

further reflects his overall awareness that he retained classified information at home and his

knowledge that such conduct was prohibited by law. Such evidence illustrates the common-

sense conclusion that the Defendant could willfully possess classified documents without being

aware of the specific contents of the charged documents.4

2:     Assuming the Government will prove that Document A was included within a pile of
       documents and that Martin knew he possessed the pile, must he have known that the pile
       includes that specific document?

        Section 793(e) does not require the Government to prove that the Defendant knew that

particular documents were contained within the classified documents he unlawfully retained.

Rather, the Government must prove that he was generally aware that his conduct was prohibited



4
 Even though the Government is not required to prove that the Defendant knew he possessed the
specific charged documents, evidence regarding the location of physical documents, as well as
digital forensic findings, are also probative of the Defendant’s knowledge that he possessed the
specific documents listed in the Indictment.


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by law. The Defendant’s theft and retention of vast quantities of classified documents does not

relieve him of culpability for retaining each individual document.

3:         And, what must the Government prove that Martin knew about the contents of Document
           A, i.e., whether it contained national defense information?

           The Government is only required to prove that the Defendant knew he was prohibited by

law from retaining the documents. It is well-settled that the Government is not required to prove

that, in a case where the defendant is charged with the retention of documents related to the

national defense, the defendant knew they contained NDI. See, e.g., Morison, 622 F. Supp. at

1010; Drake, 818 F. Supp. 2d at 916.

     IV.      CONCLUSION

           As set forth above, the Government must prove the following in this prosecution: (1) the

Defendant had unauthorized possession of the documents underlying the Indictment; (2) the

documents underlying the Indictment contained information related to the national defense; and

(3) the Defendant willfully retained the documents and failed to deliver them to the officer or

employee of the United States entitled to receive them. To establish willfulness, the Government

must show that the Defendant knew that his conduct was prohibited by law and that he did not

retain the documents due to negligence, inadvertence, or mistake. The Government is not

required to prove that the Defendant knew specifically which documents containing NDI he




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retained, and is not required to prove that he knew the documents contained NDI. This Court

should reject any attempt to add additional elements of the crime charged.

                                             Respectfully submitted,

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